     Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 1 of 60




                 UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK

GOOGLE LLC,

                 Plaintiff,

    v.                              Civil Action No.

DMITRY STAROVIKOV;                          FILED UNDER SEAL
ALEXANDER FILIPPOV;
and Does 1-15,

                 Defendants.




         COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
           Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 2 of 60




      Plaintiff Google LLC (“Google”) for its Complaint against the Defendants listed

below alleges as follows:

                                 INTRODUCTION

      1.       Defendants are Russian cybercriminals who have silently infiltrated

more than a million computers and other devices around the globe to create a

network—the Glupteba “botnet”—to use for illicit purposes, including the theft and

unauthorized use of Google users’ login and account information. Defendants use the

Glupteba botnet to further a range of cybercrimes and to conceal criminal conduct.

And at any moment, the power of the Glupteba botnet could be leveraged for use in a

powerful ransomware 1 or distributed denial-of-service (“DDoS”) attack. 2

      2.       The Glupteba botnet is distinguished from conventional botnets in its

technical sophistication: unlike other botnets, the Glupteba botnet leverages

blockchain technology to protect itself from disruption.

      3.       Defendants Dmitry Starovikov, Alexander Filippov, and other unknown

individuals work in concert to grow, control, and profit from the Glupteba botnet.

Defendants and their criminal enterprise (hereinafter referred to as the “Glupteba

Enterprise” or the “Enterprise”) represent a modern technological and borderless

incarnation of organized crime. The Glupteba Enterprise operates through a network



1 Ransomware is an increasingly common type of malicious software (“malware”) that
is designed to block access to all or part of a computer system until a sum of money
is paid.
2 A DDoS attack occurs when multiple internet-connected devices are directed to
collectively overwhelm the bandwidth of a particular website or system for the
purpose of taking that website or system offline.


                                          2
           Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 3 of 60




of individuals and organizations that, together, engage in and profit from a pattern

of criminal racketeering conduct.

      4.       The Glupteba Enterprise uses its illicit access to devices infected with

Glupteba malware to further numerous criminal schemes, including:

      a. Stolen Accounts Scheme:                 Stealing personal account information

            (including Google and other account login information) from infected

            devices and selling to third parties access and use of the stolen accounts

            through virtual machines preloaded with those accounts;

      b. Credit Card Fraud Scheme:                  Selling credit cards for fraudulent

            purchases from Google. These credit cards pass technical authorization

            checks but have insufficient funds to pay for the services or goods purchased

            for use in connection with the Stolen Accounts Scheme, resulting in the

            purchase of ads or services from Google (and other web-based companies)

            for which payment is not made;

      c. Disruptive Ad Scheme: Selling the placement of disruptive ads (e.g., pop-

            up ads in videos) on infected devices whose victim owners are unwitting to

            the scheme;

      d. Proxy Scheme: Selling unauthorized access to victims’ infected devices

            for use as “residential proxies,” which, unbeknownst to the victims, are

            exploited by cybercriminals to conceal their location and internet protocol

            (“IP”) address while committing other crimes;




                                             3
           Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 4 of 60




      e. Cryptojacking Scheme: Hijacking (or “cryptojacking”) the computing

            power of infected devices to generate cryptocurrency for the Glupteba

            Enterprise’s financial gain.

      5.       The Glupteba Enterprise is responsible for causing significant harm to

Google, Google users, the owners of infected devices, and countless other entities and

individuals.

      6.       The Glupteba Enterprise causes financial harm to Google, interferes

with Google’s relationships with its users (and potential users), harms Google’s

reputation, impairs the value of Google’s trademarks, and forces Google to devote

substantial resources to combat the Enterprise’s harmful activity.

      7.       Google brings this action under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”),         Computer      Fraud and Abuse      Act,   Electronic

Communications Privacy Act, Lanham Act, and New York law, against Defendants’

criminal enterprise to disrupt the Glupteba botnet, to prevent it from causing further

harm, and to recover damages.

                                           PARTIES

                                           Plaintiff

      8.       Plaintiff Google LLC (“Google”) is a Delaware limited liability company

with its principal place of business at 1600 Amphitheatre Parkway in Mountain View,

California.

      9.       Google is a leading technology company that offers a wide variety of

services to organize the world’s information and make it universally accessible and

useful. Its search engine, accessible at www.google.com, is the largest, most effective,


                                              4
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 5 of 60




and widely used internet search service in the world. Gmail, a free email service used

by more than 1.5 billion people worldwide, includes a variety of revolutionary and

innovative features, including an industry-leading two full gigabytes of email storage;

email message threading; fast, precise search of emails using an integrated Google

search engine; and freedom from pop-up or irrelevant advertising. Google also offers

YouTube, an online video sharing platform that millions of people use to share and

watch videos each day.

      10.     Google operates numerous products, platforms, and services, several of

which are core to its business and relevant here:

         a.   Android: Android is an operating system that is designed to run on

              mobile devices, such as smartphones or tablets.

         b.   Chrome: Chrome is a web browser that runs on various operating

              systems, including on personal computers, smartphones, and tablets.

         c.   Gmail: Gmail is an email service that is hosted on Google’s servers.

         d.   Google Drive: Google Drive is a file storage service that allows users

              to host and share files in various formats on Google’s servers. These

              files can be created, accessed, and edited remotely.

         e.   Google Search: Google Search is an internet-based search engine that

              allows users to search for publicly accessible documents and websites

              indexed by Google’s servers.

         f.   Google Workspace:        Google Workspace is a cloud-based suite of

              productivity and collaboration tools for businesses.       This service




                                             5
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 6 of 60




             provides businesses with custom email accounts with integrated

             collaboration tools, including Gmail, Google Calendar, Google Meet,

             Google Chat, Google Drive, Google Docs, Google Sheets, Google Slides,

             Google Forms, and Google Sites.

        g.   YouTube: YouTube is an online video sharing platform.

        h. Google Ads: Google Ads is an online advertising platform through

             which advertisers can publish advertisements on various Google

             platforms including, for example, Google Search and YouTube.

      11.    Google strives to provide its users worldwide with safe and secure

platforms.   Google has therefore invested substantial resources to identify,

understand, and ultimately disrupt harmful malware such as the Glupteba botnet.

      12.    Google supports its businesses in part through revenue generated by its

many advertising products, all geared toward delivering relevant ads and providing

consumers with useful commercial information. Google’s broad suite of advertising

and analytics tools help millions of companies grow their businesses every day.

      13.    Google constantly invests in and improves its advertising programs.

Today, Google Ads is a world-class ad technology platform for advertisers, agencies,

and publishers to power their digital marketing or monetization. A core focus of the

product is serving relevant ads at the right time in a non-intrusive manner, and

ensuring advertisers have effective tools to target and measure the effectiveness of

their ad campaigns.




                                         6
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 7 of 60




      14.    Google has allocated, and continues to allocate, substantial resources to

restricting fraudulent ads and protecting users on the web. These include, among

other things, filtering out invalid traffic, removing bad actors and billions of improper

ads from Google systems every year, and closely monitoring the sites, apps, and

videos where ads appear to ensure that ads do not fund bad content. 3

                                         Defendants

      15.    The defendants listed in paragraphs 16 and 17 are individuals who have

conspired to engage in a pattern of racketeering activity. They each have participated

in the operation or management of the Glupteba Enterprise and have engaged in

criminal acts causing harm to Google and countless others.

      16.    Defendant Dmitry Starovikov is an individual who resides in Russia.

      17.    Defendant Alexander Filippov is an individual who resides in Russia.

      18.    Plaintiff does not know the true names and capacities of the Doe

Defendants sued as Does 1 through 15, and therefore sues these defendants by such

fictitious names. Each of the Doe defendants is responsible in some manner for the

conduct alleged, having agreed to become part of the Glupteba Enterprise.




3In 2020, Google disabled 1.7 million advertiser accounts and removed roughly 3.1
billion ads for violating its policies, including 867 million ads that abused the ad
network by attempting to evade Google’s detection systems and lure users off Google’s
platforms with an aim to defraud them. Scott Spencer, Our Annual Ads Safety
Report,      Google     Ads     &       Commerce      Blog     (Mar.    17,    2021),
https://blog.google/products/ads-commerce/ads-safety-report-2020.



                                           7
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 8 of 60




                          JURISDICTION AND VENUE

      19.    This Court has federal-question jurisdiction over Google’s claims under

RICO, the Computer Fraud and Abuse Act, the Electronic Communications Privacy

Act, and the Lanham Act under 28 U.S.C. § 1331. This Court also has jurisdiction

over the Lanham Act and related state and common law unfair competition claims

under 28 U.S.C. § 1338, and 15 U.S.C. § 1121.         This Court has supplemental

jurisdiction over the state-law claims under 28 U.S.C. § 1367.

      20.    Defendants are subject to personal jurisdiction in this district, and the

exercise of jurisdiction over Defendants is proper pursuant to 18 U.S.C. § 1965 and

N.Y. C.P.L.R. §§ 301 and 302. Defendants have transacted business and engaged in

tortious conduct in the United States and in New York which gives rise in part to

Google’s claims. Defendants also have engaged in intentional, wrongful, illegal,

and/or tortious acts, the effects of which Defendants knew and intended would be felt

in the United States and New York.            Among other things, Defendants have

intentionally caused Glupteba malware to be downloaded on victims’ machines in this

district, in New York, and throughout the United States; have intentionally directed

victims’ machines in this district, in New York, and throughout the United States to

participate in intentional, wrongful, illegal, and/or tortious acts; and have directed

multiple forms of communication to co-conspirators in the United States for the

purpose of planning and carrying out their conspiracy and fraud. Defendants were

aware of the effects in the United States and New York of those acts; the activities of

their co-conspirators and agents were to the benefit of Defendants; and their co-




                                          8
            Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 9 of 60




conspirators and agents were working at the direction, under the control, at the

request, and/or on behalf of Defendants in committing those acts.

       21.      Venue is proper in this judicial district under 28 U.S.C. § 1391(c)

because Defendants are not residents of the United States and may be sued in any

judicial district.   Venue is also proper in this judicial district under 28 U.S.C.

§ 1391(b) and 18 U.S.C. § 1965 because a substantial part of the events or omissions

giving rise to Google’s claims occurred in this judicial district, because a substantial

part of the property that is the subject of Google’s claims is situated in this judicial

district, because a substantial part of the harm caused by Defendants has occurred

in this judicial district, and because Defendants transact their affairs in this judicial

district.    Defendants engage in conduct availing themselves of the privilege of

conducting business in New York, and utilize instrumentalities located in this judicial

district to carry out acts alleged herein.

       22.      Defendants have affirmatively directed actions at New York and the

Southern District of New York by directing their activities, including theft of funds,

hardware, and information, at individual computer users located in the Southern

District of New York. Defendants have directed malicious computer code at the

computers of individual users located in New York and the Southern District of New

York. Defendants have attempted to and, in fact, have infected such user computers

with malicious computer code.




                                             9
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 10 of 60




                            FACTUAL ALLEGATIONS

                                       Botnets

      23.    Most botnets spread through a simple malware download. “Malware” is

“malicious software” that is generally designed to damage, destroy, disrupt, or steal

data from a computer system.

      24.    Most users of a computer or other device install malware inadvertently.

For example, the user is encouraged to click on a link, interact with an online

advertisement, or open an attachment to an email, and unknowingly triggers the

download and installation of the malware on the user’s device. In colloquial terms,

the device is then infected with a computer virus.

      25.    A “bot” (short for “robot”) is a computer or device that is infected by

malware and that can be tasked to conduct specific activities.

      26.    A “botnet” is a network of internet-connected devices (bots), each of

which are infected by malware. The botnet is controlled by “command-and-control”

(“C2”) servers, which can instruct the devices comprising the botnet to perform any

number of disruptive or even criminal tasks. The C2 servers typically are controlled

remotely by individual operators, referred to as “bot controllers.”

      27.    The botnet’s computing power grows with each new device that is

infected. Thus, depending on the volume of devices comprising the botnet, the bot

controllers can marshal an astonishing amount of computing power to commit

cybercrimes. For example, botnets can be used to orchestrate DDoS attacks, in which

numerous computers (without the owners’ knowledge) simultaneously send requests




                                          10
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 11 of 60




to a single website or resource. The attack can overwhelm the target, rendering the

website or other internet-based service unusable.

      28.    Botnets also can be programmed to steal personal information, financial

information, usernames, and passwords from infected devices. They can send emails

without the owner of the infected device’s knowledge or consent. They can “proxy” or

“relay” internet communications to mask the location of bad actors, thereby

concealing and facilitating criminal conduct. They can send additional malware to

infect other computers. And they can act as a vector to spread ransomware or

propaganda, including to interfere with elections or influence public policy. In other

words, botnets are both powerful and flexible tools to commit cybercrimes.

                               The Glupteba Botnet

      29.    Cybersecurity experts first noticed Glupteba malware in 2011, when it

was primarily associated with a spam campaign. In recent years, however, the spread

of Glupteba malware has increased substantially and the botnet has become

markedly more dangerous. Google estimates that it has infected more than one

million computers and other devices.

      30.    In the summer of 2020, Google determined that Glupteba malware was

being disseminated on numerous third-party software download sites, online movie

streaming sites, and video downloader sites, often advertised as “free downloads.”

      31.    Glupteba malware masquerades as free, downloadable software, videos,

or movies (“freeware”) and infects a device when a user clicks on a link to the




                                         11
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 12 of 60




freeware. For example, users who click on a link looking to download a free game

instead unknowingly download and install Glupteba malware.

      32.   The Glupteba Enterprise and its agents distribute these links through

pay-per-install arrangements by which the Enterprise pays its agents for each

successful installation of the malware. The Enterprise and its agents abuse well-

established and famous trademarks in order to capture consumers’ attention and

trick them into believing that the trademarks represent trusted brands. These abuse

campaigns are frequently short-lived and quickly change from one entity to another,

so that the Enterprise stays ahead of trademark owners’ ongoing efforts to stop

infringement and abuse.

      33.   For example, as reflected in the image below, the Glupteba Enterprise

unlawfully leveraged a well-known Google mark—YouTube—to help disseminate

Glupteba malware. At the website located at “video-youtube-get.ru,” users were

deceived, in part due to the use of “youtube” in the domain name and on the landing

page, into believing they were downloading a YouTube video. When users clicked on

the link to download the video, they unknowingly downloaded and installed Glupteba

malware on their devices.




                                        12
          Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 13 of 60




         34.   When an unsuspecting victim clicks on one of Glupteba-hosting links,

the malware is delivered to the victim’s device via “droppers.” Droppers are a type of

Trojan horse virus: they appear as a legitimate application to the user, but once

downloaded, they deliver malware to the user’s device.

         35.   Glupteba is a modular malware, meaning that it installs new modules

with different functionality over time as instructed by the Glupteba Enterprise.

         36.   The Glupteba botnet uses various domain names 4 that point to IP

addresses that host two different types of servers—content delivery network (“CDN”)

servers and C2 servers—to download and execute the modules. These domain names




4   The domain name is a “pointer” to an IP address where a server is hosted.


                                           13
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 14 of 60




are hard-coded in the malware and can be refreshed through backdoor functions 5 or

by querying the blockchain, explained infra at paragraphs 41 to 50. Appendix A

lists the known domains 6 and IP addresses used by the Glupteba Enterprise, as well

as the registrars 7 for each domain.

      37.     Once the Glupteba malware’s main dropper component is installed on a

device, the botnet delivers additional modules to that device. Modules are then

executed as instructed by the C2 server, which is operated by the Glupteba

Enterprise.

      38.     The first executed module acts as a scout to detect the security system

in place on the computer (or other device), so that the Glupteba malware can evade

detection by the device’s owner and antivirus software. It manipulates the owner’s

operating system by hiding the malware’s existence and preventing it from revealing

itself on an infected device’s security logs. The module is designed to circumvent

cybersecurity detection tools, anti-virus software, and system monitoring programs,

including security software featured in popular operating systems.

      39.     The Glupteba Enterprise then uses various other modules to execute its

criminal schemes, explained infra at paragraphs 51 to 88.



5 Backdoor functions are covert methods of bypassing normal authentication or
encryption in an internet-connected device.
6Appendix A includes domains used for C2 and CDN server communication and
operation, as well as domains used for distribution of the Glupteba malware and
domains used for the Enterprise’s criminal schemes.
7Registrars obtain domain rights for their customers from registry services that are
responsible for managing domains.


                                         14
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 15 of 60




      40.    Once the modules are downloaded to the infected device via the CDN

server, the C2 server communicates commands to the infected device to control it and

utilize those modules. For example, the C2 server could activate the “steal credentials

from this device” module or the “use this device for cryptocurrencies mining” module,

depending on the Glupteba Enterprise’s plans for the infected device.

               The Glupteba Botnet Leverages Blockchain Technology

      41.    Unlike conventional botnets, the Glupteba botnet leverages the

blockchain technology used in certain cryptocurrency transactions to protect critical

lines of communication between the C2 servers and the botnet that they direct.

      42.     Cryptocurrency is a digitized data currency, rather than a physical

currency like a coin or a dollar bill, that uses advanced cryptography to secure

transactions. A particularly well-known form of cryptocurrency is called Bitcoin.

Many cryptocurrencies, including Bitcoin, use blockchain technology as a public,

distributed ledger to record cryptocurrency transactions. Each time a transaction

occurs, a new entry or “block” of information is created. These blocks are then joined

together in a “chain.”

      43.    Critically, no administrator has control of the cryptocurrency

transaction information recorded in the blockchain. The transaction information is

permanently recorded and, in many cases, viewable to anyone.

      44.    People own cryptocurrencies, such as Bitcoin, through digital “wallets,”

which are software-based digital payment services or applications that interface with

the blockchain. Wallets interface with a cryptocurrency’s blockchain and store the




                                          15
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 16 of 60




public and private “keys” used to send and receive cryptocurrency. A public key, or

“address,” is akin to a bank account number, and a private key is akin to a PIN or

password that allows a user the ability to access and transfer value associated with

the public address and the private key. To conduct transactions on a blockchain, an

individual must use the public address and the corresponding private key.

      45.     The blockchain, which is run by the decentralized network for a

particular cryptocurrency, contains the historical records of every transaction in that

currency (the “blocks”). On the Bitcoin blockchain, the public addresses of those

engaging in Bitcoin transactions are recorded, but the identities of the individuals or

entities behind those public addresses are not.

      46.     A conventional botnet does not use blockchain to maintain lines of

communication between C2 servers and infected devices. Rather, in a conventional

botnet, infected devices are programmed to look for pre-determined domain addresses

that point to the C2 server. The instructions to locate those domains are hard-coded

in the malware. If the predetermined domains are shut down (by law enforcement or

others), the infected devices can no longer receive instructions from the C2 servers

and therefore can no longer be operated by the bot controller. For that reason,

conventional botnet operators may utilize thousands of “disposable” domains (using

domain generation algorithms) to defend against law enforcement action to disrupt

the botnet.

      47.     Unlike conventional botnets, the Glupteba botnet does not rely solely on

predetermined domains to ensure its survival. Instead, when the botnet’s C2 server




                                          16
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 17 of 60




is interrupted, Glupteba malware is hard-coded to “search” the public Bitcoin

blockchain for transactions involving three specific Bitcoin addresses that are

controlled by the Glupteba Enterprise. From time to time, the Glupteba Enterprise

executes transactions in those addresses, and as part of those transactions, the

Glupteba Enterprise leaves in the blockchain the location of the domain for a back-

up C2 Server.

      48.    The Glupteba Enterprise provides the C2 server information in an

encrypted code in a transaction-specific message field on the Bitcoin blockchain. The

message field is used to communicate messages or data from one Bitcoin address to

another, similar to a check memo line, or the payment note in a digital payment

application like Google Pay (e.g., “for groceries”). The domain is either sent as a

standalone, valueless data transmission, or accompanies a transaction in which funds

are exchanged.

      49.    Thus, whenever a C2 server is taken offline, Glupteba malware is

programmed to locate a replacement C2 server by querying the public blockchain,

identifying transactions that involve the addresses controlled by the Glupteba

Enterprise, and then decrypting the encrypted code contained in the message field of

the relevant transaction in order to identify the back-up C2 server.

      50.    The Glupteba Enterprise’s use of blockchain technology to reinforce its

C2 servers means the Glupteba botnet is particularly difficult to disrupt. Unlike

conventional botnets, which may lose control of infected devices when a C2 server is

shut down, the Glupteba botnet can continue to communicate instructions to its




                                         17
          Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 18 of 60




infected devices even where domains for C2 servers are taken down, because the

malware in the infected devices instructs the devices to identify a new C2 server by

querying the blockchain. Thus, the Glupteba botnet cannot be eradicated entirely

without neutralizing its blockchain-based infrastructure.

            Criminal Schemes Perpetrated by the Glupteba Enterprise

      51.     The Glupteba Enterprise carries out several criminal schemes and

facilitates the criminal schemes of others through its operation of the Glupteba

botnet.

      52.     Each criminal scheme generates profits for the Glupteba Enterprise

through illegal services. These schemes include: (1) stealing credentials of Google

accounts (and other accounts) from infected devices and using that stolen account

information for the Glupteba Enterprise’s benefit, including by selling access to the

stolen account to third parties through virtual machines preloaded with those

accounts, minimizing the likelihood the account owners will detect the scheme, (2)

selling credit cards to third parties to facilitate the fraudulent purchase of Google ads

(and other Google services) that are never paid for, (3) selling the placement of

disruptive ads on Glupteba-infected mobile devices, (4) selling proxy connections to

infected devices, and (5) exploiting the processing power of infected devices to “mine”

cryptocurrency.

      53.     Stolen Accounts Scheme. The Glupteba Enterprise harvests data

that is maintained in internet browsers on infected devices, including data from

Google Chrome and Google Ads. The stolen data includes confidential information

belonging to the legitimate owner of the device, such as login credentials (usernames


                                           18
          Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 19 of 60




and passwords), URL history, and authentication permissions (cookies). This stolen

information is used in numerous ways to benefit the Glupteba Enterprise.

      54.     One way that the Glupteba Enterprise benefits from this stolen

information is through the sale of access to stolen Google and similar accounts. The

Glupteba Enterprise uses a website called “Dont.farm” to sell access to users’

accounts with Google and other online platforms.

      55.     The Enterprise loads stolen credentials and cookies of the stolen

accounts on virtual machines. A virtual machine is similar to a physical computer,

but the operating system of the virtual machine is contained within another

computing environment, typically on a cloud computing platform.

      56.      Like typical computers, the Glupteba Enterprise’s virtual machines

have a web browser. In the open browser, the Glupteba Enterprise enters a username

and password for a Google account (or other account) that Glupteba malware has

stolen.   Dont.farm’s customers pay the Glupteba Enterprise in exchange for the

ability to access a browser that is already logged into a victim’s stolen Google account.

Once granted access to the account, the Dont.farm customer has free rein to use that

account however they desire, including buying advertisements and launching

fraudulent ad campaigns, all without the true account owner’s knowledge or

authorization. According to Dont.farm’s website, customers can obtain access to

“accounts of any country in the world.”

      57.     Dont.farm confesses that it is selling access to other people’s accounts

for Google and other technology company products and services.




                                           19
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 20 of 60




      58.   The Dont.farm website provides a manual instructing its users how to

exploit accounts while minimizing the risk of discovery by the account owner or a

technology platform like Google.




                                       20
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 21 of 60




      59.    For example, Dont.farm customers are instructed to archive emails from

“google.com” and “ads-reply@google.com” so that any alert emails from Google to the

true owner of the account will not be noticed.         Dont.farm customers also are

instructed to turn off account notifications for Google AdWords and YouTube services

so that the true owner of the account will not be notified of any changes made to their

account.

      60.    Dont.farm also provides other tips to its customers to help them avoid

detection by Google. For example, they advise customers not to increase advertising

budgets by more than 30 percent, and that any domains used for advertisements

should be at least two weeks old, if not significantly older.




                                           21
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 22 of 60




      61.    According to the Dont.farm website, it has been in operation since 2019

and has over 200 employees. Dont.farm has sold access to hundreds of thousands of

stolen accounts—including Google accounts—since its inception.

      62.    In response to a public comment accusing Dont.farm of illegal activity,

Dont.farm attempted to distinguish its criminal conduct—selling authorized access

to accounts—from the act of selling stolen username and passwords.




      63.    This is a distinction without a difference: while it is illegal to sell stolen

usernames and passwords, it is likewise illegal to sell unauthorized access to a stolen

account.

      64.    Dont.farm is marketed as a means by which to conduct “efficient”

advertisement campaigns, but, in reality, it is simply a vehicle for bad actors to

commit commercialized ad fraud. Once criminal customers are logged in to the

victim’s account through Dont.farm, they can use the account to disseminate and/or

purchase advertising. Cybercriminals often use this form of advertising to phish

credentials, such as financial information or other personal information, from buyers



                                           22
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 23 of 60




of their “products.” These bad actors may potentially use these accounts to conduct

other fraudulent schemes as well.

      65.     With regard to the Stolen Accounts Scheme, Google specifically found

the following through its investigation:

         a.   Google identified a Gmail account sold by Dont.farm that was created in

              2016. It did not initiate use of Google Ads until five years later, on April

              21, 2021. On that same day, the account was logged into after four failed

              password attempts from an IP address in Germany, a location atypical

              of prior account logins. The very next day, on April 22, 2021, the account

              had logins from IP addresses tied to the United States and Iran. Review

              of these logins showed they occurred from a variety of device and

              browser types. In addition, a review of the Gmail settings on the account

              indicated it had established a filter to send all emails from

              “@google.com” to trash, consistent with the aforementioned instructions

              from Dont.farm.

         b.   Google identified a Gmail account sold by Dont.farm that was created in

              2018. It did not initiate use of Google Ads until three years later, on

              March 30, 2021. On that same day, the account was logged into from a

              new device. Google’s review determined that the Gmail settings on the

              account indicated it had established filters to send all emails from ads-

              account-noreply@google.com and from google.com to trash, consistent

              with Dont.farm’s instructions. Additionally, Google observed a series of




                                           23
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 24 of 60




              failed login attempts for this account in early July 2021 from IP

              addresses associated with numerous countries, such as Vietnam, Italy,

              Brazil, Ecuador, Iraq, Czechia, Bangladesh, and the United States.

         c.   Google identified a Gmail account sold by Dont.farm that was created in

              2019. It did not initiate use of Google Ads until two years later, on

              March 24, 2021. On that same day, the account was logged into from a

              Windows device in the United Kingdom, a device and location atypical

              of other logins, including another login that occurred that same day. The

              Gmail settings on the account indicated it had established filters to send

              all emails from ads-account-noreply@google.com and google.com to

              trash, consistent with Dont.farm’s instructions.

      66.     Credit Card Fraud Scheme. Often, third parties and potentially bad

actors seek access to Google Ads accounts or similar advertising accounts to buy

advertisements to display to Google users or other audiences. As reflected in images

from the Dont.farm website excerpted below, one of the features of Dont.farm is that

it offers “packages” that include not only access to stolen accounts, but also the use of

credit cards from a website called Extracard.net to purchase ads. Customers of

Dont.farm pay a fee for use of credit cards through Extracard.net; they use the card

to purchase Google ads or other Google services (while logged in through stolen

account information), but neither Extracard.net, nor the Dont.farm customer pay

Google for the ads or services purchased.




                                            24
Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 25 of 60




                             25
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 26 of 60




      67.    Specifically, the scheme leverages an advance credit Google provides to

Google Ads account holders when an account holder places a credit card on file with

their account. The account holder can spend up to the credit amount before Google

charges the credit card on file. When account holders place legitimate credit cards

on file, Google can collect the charges when it runs the credit card.

      68.    Extracard.net provides access to credit card numbers that are associated

with a Russian bank. These credit card numbers appear legitimate, but when Google

seeks to charge credit cards issued by Extracard.net, the charged amount is not fully

paid. By taking advantage of the advance credit system, customers of Google Ads

with Extracard.net credit cards on file have been able to “purchase” and execute ad

campaigns without paying for them, causing monetary loss to Google. Additionally,

many of the ad campaigns purchased with Extracard.net credit cards have been

malicious or fraudulent.

      69.    The Glupteba Enterprise sells these credit cards through Extracard.net

not just for use on its stolen Google accounts, but for the customer to use however

they see fit. Thus, it is likely Google is not the only victim of this criminal scheme.

      70.    The Glupteba Enterprise directs and profits from this criminal scheme

and operates the corporate entities responsible for executing the scheme. Prestige-

Media LLC, a Delaware corporation owned and operated by the Glupteba Enterprise,

owns QIP.ru, which claims responsibility for the creation and operation of

Extracard.net. See infra paragraph 111.




                                           26
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 27 of 60




      71.     With regard to the Credit Card Fraud Scheme, Google specifically found

the following through its investigation:

         a.   The Google Ads accounts associated with a particular Gmail account

              purchased ads using a credit card consistent with credit cards from

              Extracard.net. Both Ads accounts were suspended for ad cloaking, a

              technique used to defraud online advertisers and trick internet users to

              view malicious sites, often with the purpose of compromising their

              devices. Upon review, the Ads accounts were found to be running ads

              which redirected to a cryptocurrency investment scam. Moreover, a

              review of that Gmail account indicated it had logins from IP addresses

              associated with AWMProxy.net.

         b.   The Google Ads account associated with a particular Gmail account

              signed up for Google AdWords using a credit card consistent with credit

              cards from Extracard.net. The Ads account was suspended for payment

              fraud because it ran ads worth $410.89 Australian Dollars in mid-

              September 2021, for which Google never received payment.           This

              account was created just two weeks before it began using Google

              AdWords and it used VPN IP addresses for logging in, suggesting that

              the user purposefully masked its identity and likely created the account

              in order to undertake fraudulent ad activity using the Extracard.net

              credit card.




                                           27
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 28 of 60




        c.   The Google Ads account associated with a particular Gmail account

             signed up for Google AdWords using a credit card consistent with credit

             cards from Extracard.net. The account was suspended for payment

             fraud because it ran ads worth approximately 2800 EUR between June

             4, 2021 and June 18, 2021, for which Google was only partially paid.

      72.    Disruptive Ads Scheme.           The Glupteba Enterprise sells the

placement of “disruptive ads” (often, “pop-up” ads) on mobile devices infected with

malware. In today’s digital age, advertisers tend to view disruptive ads as more

effective than standard ads used on social media and other websites because they

grab users’ attention. The Glupteba Enterprise has sold disruptive ads through at

least two websites, Trafspin.com and Push.farm.

      73.    Trafspin.com is a real-time bidding advertising network that sells

disruptive in-app and web traffic through the botnet’s proxy connections to mobile

devices infected by the Glupteba malware. Trafspin.com is currently offline, but it

appears to have been replaced by Push.farm. The format and content of the

Push.farm website is nearly identical to Trafspin.com, and it lists the same “office”

phone number on its website.

      74.    Like Extracard.net, Trafspin.com and Push.farm appear to be supported

by Prestige-Media. As shown below, Prestige-Media was listed on Trafspin.com’s

website as the entity supporting Trafspin.com’s U.S. operations.




                                         28
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 29 of 60




      75.   Similarly, as shown in the excerpt below from Trafspin.com’s website,

Trafspin.com and Push.farm’s Russian operations appear to be supported by

Investavto LLC, a Russian limited-liability company based in Moscow. Investavto

was registered on May 26, 2016, and its legal address was 123112, Moscow,

Presnenskaya Embankment 12, Office 5. Investavto may have been liquidated on

September 23, 2021.




                                       29
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 30 of 60




      76.   A third corporate entity supporting Trafspin and Push.farm is Valtron

LLC (OOO ВАЛЬТРОН in Russian), a Russian limited-liability company based in

Moscow. It was incorporated on August 23, 2019. Recent Russian job postings state

that Valtron LLC’s website is “Trafspin.com” and list the same office address as

Voltronwork.com, Investavto LLC, and Trafspin.com: Presnenskaya Embankment 12

(Federation Tower). The job postings include requirements that the candidates have

experience with Google and other technology-company advertising. 8

      77.   Proxy Scheme.       The Glupteba Enterprise also uses the botnet’s

connections to infected devices to secretly convert those devices into proxy



8 The Glupteba Enterprise’s corporate entities likely exist for the sole purpose of
hiring and paying employees. See Robert McMillan, Ransomware Gang Masquerades
as Real Company to Recruit Tech Talent, Wall St. J. (Oct. 21, 2021, 8:30 AM),
https://www.wsj.com/articles/ransomware-gang-masquerades-as-real-company-to-
recruit-tech-talent-11634819400.


                                        30
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 31 of 60




connections that it then sells to third-party customers, including those involved in

criminal activity. Specifically, AWMProxy.net 9 sells residential proxy servers that

allow customers (including criminals) to conceal their location through the use of

devices infected by the botnet.

      78.    AWMProxy.net rents out IP addresses that belong to physical devices

infected by Glupteba malware to customers seeking to proxy (or relay) their internet

activity through those devices. This enables customers to conceal their location, since

their internet activity will appear to be coming from the IP address of the infected

device, rather than the customers’ real location.        AWMProxy.net updates the

available proxies frequently in order to circumvent bans by search engine

optimization.

      79.       IP addresses are a common factor used in identifying harmful activity,

and by relaying efforts through residential proxies, bad actors are more likely to avoid

detection and successfully undertake harmful activities such as launching malicious

or fraudulent Google Ad campaigns and sending phishing emails to Google users. The

unwitting victim owners whose devices have been infected are not aware, nor have

consented, to their devices being used in this way.




9 On November 23, 2021, AWMProxy.net was rebranded as Vd.net. A blog post on
the same day claimed new ownership. See The Project Has a New Domain and New
Owners!, VD.net (Nov. 23, 2021), https://vd.net/news/the-project-has-a-new-domain-
and-new-owners.html (“Dear friends! We are glad to inform you that our project has
been sold to new owners. In this regard, we expect new positive changes and you can
already see the first one of them - we have a new website address! We are sure that
the new team will breathe new life into the project!”).


                                           31
         Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 32 of 60




      80.    The Glupteba Enterprise formerly used a website called “Abm.net” to

effectuate the same scheme. Both AWMProxy.net and Abm.net have advertised their

proxies as compatible with Google.

      81.    AWMProxy.net also provides proxy services for use by Dont.farm, as it

appears that most of the IP addresses used to proxy for Dont.farm are IP addresses

that AWMProxy.net also utilizes.

      82.    The Glupteba Enterprise’s proxy scheme allows cybercriminals who rent

an IP address from the Glupteba Enterprise to hide their tracks by concealing their

true locations and IP addresses at the expense of unwitting and innocent owners of

infected computers and devices.      As a result, security systems that screen for

suspicious IP addresses are less likely to detect the cybercriminal’s activity.

      83.    AWMProxy.net and Abm.net also appear to be supported by Prestige-

Media.    All three share the same legal address (8 The Green, Suite A, Dover,

Delaware, 19901), and AWMProxy.net’s website previously listed Prestige-Media as

a contact.

      84.    Cryptojacking Scheme. “Cryptojacking” involves secretly exploiting

computing and processing power devices to generate or “mine” cryptocurrency.

      85.    For   traditional,   state-backed    currencies    (such   as   the   U.S.

dollar), new currency is injected into the economy when the government prints it.

Cryptocurrency works differently, and for certain cryptocurrencies, newly issued

currency is distributed to those who “mine” it. Specifically, cryptocurrency networks

require confirmation of transactions. Transactions are confirmed by solving complex




                                          32
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 33 of 60




mathematical problems (called “mining”) using computer processing power. After

confirmation, transactions are confirmed to the blockchain. Miners are rewarded for

being the first to successfully complete this computational task by receiving newly

created units of cryptocurrency, often in the form of a “transaction fee.”

      86.    It is often not efficient or possible for the owner of a personal computer

to “mine” cryptocurrency in this way.

      87.    The Enterprise    manipulates     infected   devices,   marshaling   their

collective computing power, to mine for cryptocurrency for the Glupteba Enterprise.

The Enterprise directs all of the rewards from the mining activity to its own wallets,

leaving the device owner both unaware that they are contributing to a criminal

enterprise and saddled with the high electricity bill and computing inefficiencies that

result from mining.

      88.    Other Criminal Schemes:           As noted, the Glupteba malware has

infected more than one million devices. At any moment, the unusual power of the

botnet could be harnessed by the Glupteba Enterprise for any of a number of other

criminal schemes, including large ransomware or DDoS attacks on legitimate

businesses or targets of all sizes. The Glupteba Enterprise could itself perpetrate

such a harmful attack, or it could sell access to the botnet to a third-party for such a

purpose. Some of the largest DDoS attacks in internet history were recently carried




                                          33
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 34 of 60




out by the so-called “Meris botnet,” which some researchers have connected to the

Glupteba Enterprise. 10

                      Developer Support for Criminal Schemes

       89.   The Glupteba Enterprise actively recruits developers to support its

websites, transactions, and overall operation. To recruit developers, the Enterprise

uses a website called “Voltronwork.com.” This site uses Google advertisements to

post job openings for the websites effectuating the above criminal schemes.

       90.   Generally, Voltronwork.com has operated as a website that is central to

the Glupteba Enterprise’s operations.         An IP address once connected to

vpn.voltronwork.com was used to login to Google accounts from domains associated

with   Dont.farm   and    AWMProxy.net.       Additionally,   advertisements   from

Voltronwork.com link to Trafspin.com, and the URL of a Voltronwork.com subdomain

was visible in a 2020 variant of the Glupteba malware proxy module.

       91.   Voltronwork.com is no longer functioning, but it appears to have been

replaced by Undefined.team, which the Glupteba Enterprise also controls and

operates. The domain Undefined.team has been associated with Voltronwork.com

since June 2021.    Undefined.team shares the same Federation Tower address

(Presnenskaya Embankment 12) as Voltronwork.com, Valtron LLC, Investavto LLC,



10 See Catalin Cimpanu, Russian Security Firm Sinkholes Part of the Dangerous
Meris DDoS Botnet, The Record (Sept. 21, 2021), https://therecord.media/russian-
security-firm-sinkholes-part-of-the-dangerous-meris-ddos-botnet/ (“[I]t is currently
unclear if the Glupteba gang built the Meris botnet themselves or if another group
rented access to Glupteba-infected hosts to deploy the MikroTik module that
eventually led to Meris’ creation.”).



                                         34
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 35 of 60




and Trafspin.com. Additionally, a September 2021 job posting for an HTML coder

stated that Extracard.net and Abm.net were projects of the “large IT team

UNDEFINED.TEAM.”

            Individual Defendants’ Roles in the Glupteba Enterprise

      92.    Each named Defendant controls and/or participates in the Glupteba

Enterprise’s operations.

      93.    Defendants Dmitry Starovikov and Alexander Filippov each used one of

the Glupteba botnet’s proxy C2 servers in executing the Terms of Service required to

set up their Gmail addresses.

      94.    Defendant Dmitry Starovikov operates the Glupteba botnet and helps

lead the criminal schemes of the Glupteba Enterprise. In addition to using the

aforementioned IP address of a Glupteba botnet proxy C2 Server when signing up for

a Gmail account, Dmitry Starovikov has an email account under the Voltronwork.com

domain, and acts as an administrator for the Voltronwork.com Google Workspace

account.    Additionally, the secondary email address for the Google Workspace

Voltronwork.com account, is an email containing Dmitry’s name under the

Trafspin.com domain.

      95.    Defendant Alexander Filippov operates the Glupteba botnet and helps

lead the criminal schemes of the Glupteba Enterprise. In addition to using the IP

address of a proxy C2 Server when signing up for a Gmail account, Filippov has email

accounts associated with the Google Workspace accounts related to Voltronwork.com,

Dont.farm, and Undefined.team. Moreover, Filippov’s Undefined.team account lists




                                        35
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 36 of 60




the Russian Federation Tower address as the billing address, which is used by many

other entities in the Glupteba Enterprise, as discussed above.

                    Harm to Google, its Users, and the Public

       96.    The Glupteba Enterprise harms the owners of the devices that are

infected with the malware, Google, and countless other persons and entities.

       97.    The owners of infected devices are harmed in numerous ways, including

through the theft and use of their account information, unauthorized access and

criminal misuse of their device, and potential subjugation to the criminal schemes of

third parties.

       98.    The Glupteba Enterprise causes substantial harm to Google.

       99.    The Glupteba Enterprise causes financial loss to Google, including but

not limited to the losses incurred in connection with the Credit Card Fraud Scheme,

which results in the purchase of Google ads and services that are provided but never

paid for.

       100.   The Glupteba Enterprise also harms Google’s relationships with Google

users: it has illicitly accessed and exploited thousands of Google users’ accounts (as

well as thousands of accounts belonging to other technology companies), disrupting

these users’ experiences with the Google platform.

       101.   The Glupteba Enterprise also harms Google itself by threatening the

safety and security of Google’s products, including Gmail, YouTube, and Google Ads.

       102.   The Glupteba Enterprise impairs the value of Google marks, including

by tricking individuals into downloading Glupteba malware through a fake “YouTube




                                         36
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 37 of 60




Downloader” website that deceived users into believing they were downloading a

video from Google’s YouTube video sharing platform, impairing Google users’

confidence and trust in Google, its services, and its platforms.

      103.    The Glupteba Enterprise causes Google to expend substantial resources

to detect, deter, and disrupt it, due to the threat the Glupteba Enterprise and its

criminal schemes pose to the security of Google’s platform.

      104.    Beyond Google and Google users, the continued proliferation of malware

on Google platforms harms the internet ecosystem as a whole.

                               CLAIMS FOR RELIEF

                                 CLAIM 1
  Violations of the Racketeer Influenced and Corrupt Organizations Act,
                          18 U.S.C. §§ 1962(c)-(d)

      105.    Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      106.    At all relevant times, Google is a person within the meaning of 18 U.S.C.

§§ 1961(3).

      107.    At all relevant times, Google is a “person injured in his or her business

or property by reason of a violation of” RICO within the meaning of 18 U.S.C.

§ 1964(c).

      108.    At all relevant times, each Defendant is a person within the meaning of

18 U.S.C. §§ 1961(3) and 1962(c).

                                The RICO Enterprise

      109.    The Defendants are a group of persons associated together in fact for the

common purpose of carrying out an ongoing criminal enterprise, as described in the


                                          37
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 38 of 60




foregoing paragraphs of this Complaint; namely, creating and controlling a vast

botnet using Glupteba malware, and using that botnet to execute numerous criminal

schemes that harm and threaten to continue to harm Google, its users, and the public

more broadly. These schemes include the Stolen Accounts Scheme (supra ¶¶ 53-65),

the Credit Card Fraud Scheme (supra ¶¶ 66-71), the Disruptive Ads Scheme (supra

¶¶ 72-76), the Proxy Scheme (supra ¶¶ 77-83), and the Cryptojacking Scheme (supra

¶¶ 84-87).

       110.   As described supra at paragraphs 92 through 95, the Defendants and

their co-conspirators have organized their operation into a cohesive group with

specific and assigned responsibilities and a command structure, operating in the

United States and overseas, targeting and using victim devices in the United States.

Over time, they have adapted their operations and schemes to changing

circumstances, recruiting new members to and enlisting new devices in their

operation, developing new malware modules, and expanding the scope and nature of

their activities.

       111.   The Glupteba Enterprise, including named Defendants and their

unnamed co-conspirators (Doe Defendants), controls and uses multiple corporate

entities to effectuate its various criminal schemes. One such corporate entity is

Prestige-Media LLC, a Delaware limited liability company that owns the domain,

QIP.ru, that is responsible for Extracard.net (used with the Credit Card Fraud

Scheme). Prestige-Media also supports Trafspin.com, the website used to facilitate




                                        38
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 39 of 60




the Disruptive Ads Scheme. Another corporate entity controlled by the Glupteba

Enterprise is Valtron LLC, a Russian entity that supports Trafspin.com.

      112.   The individual Defendants named herein—Dmitry Starovikov and

Alexander Filippov—are each bot controllers involved in providing instructions to

devices infected with the Glupteba malware, in furtherance of the criminal schemes

alleged herein.

      113.   The Defendants and their co-conspirators constitute an association-in-

fact enterprise within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c): the Glupteba

Enterprise. The members of the Glupteba Enterprise share the common purpose of

developing and operating the Glupteba botnet worldwide, as set forth above.

      114.   At all relevant times, each of the Defendants were and are associated-in

fact with the Glupteba Enterprise and participated in the operation or management

of the Glupteba Enterprise.

      115.   At all relevant times, the Glupteba Enterprise was engaged in, and its

activities affected interstate and foreign commerce within the meaning of 18 U.S.C.

§ 1962(c).

             Pattern of Racketeering Activity and Predicate Acts

      116.   At all relevant times, the Defendants conducted or participated, directly

or indirectly, in the conduct, management, or operation of the Glupteba Enterprise’s

affairs through a pattern of racketeering activity within the meaning of 18 U.S.C. §

1961(5) and in violation of 18 U.S.C. § 1962(c), with such conduct and activities

affecting interstate and foreign commerce.




                                         39
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 40 of 60




      117.    Defendants have directly or indirectly engaged in an unlawful pattern

of racketeering activity involving thousands of RICO predicate offenses including

violations of the Computer Fraud and Abuse Act (18 U.S.C. § 1030(a)(5)(A),

incorporated as a RICO predicate act under 18 U.S.C. § 1961(1)(G) and 18 U.S.C. §

2332b(g)(5)(B)); wire fraud (18 U.S.C. § 1343); identity fraud (18 U.S.C. § 1028); and

access device fraud (18 U.S.C. § 1029). These activities have affected and continue to

affect interstate or foreign commerce.

      118.    Google was injured in its business and property by reason of the

Defendants’ violations of 18 U.S.C. § 1962(c), as described herein. These injuries are

a direct, proximate, and reasonably foreseeable result of these violations, and Google

will continue to be harmed.

      119.    Under 18 U.S.C. § 1964(c), Google is entitled to recover treble damages

plus costs and attorneys’ fees from the Defendants.

             The Computer Fraud and Abuse Act Predicate Offenses

      120.    RICO provides, in 18 U.S.C. § 1961(1)(G), that any act indictable under

18 U.S.C. § 2332b(g)(5)(B) constitutes a RICO predicate act. Among the acts that are

indictable under 18 U.S.C. § 2332b(g)(5)(B) are violations of 18 U.S.C.

§ 1030(a)(5)(A)—a provision of the Computer Fraud and Abuse Act (CFAA)—if such

violation results in damage as defined in Section 1030(c)(4)(A)(i)(VI).

      121.    Defendants have violated and continue to violate the CFAA, 18 U.S.C.

§ 1030(a)(5)(A), resulting in damage as defined in Section 1030(c)(4)(A)(i)(VI), by

infecting protected computers with malware, transmitting programs designed to




                                          40
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 41 of 60




carry out their schemes, and transmitting commands to infected computers. Each of

these violations constitutes a separate RICO predicate offense.

      122.     Transmission of Malware “Droppers.” Defendants have intentionally

caused damage to “protected computers” by transmitting malware “droppers” to those

computers, thereby impairing the integrity of their systems and information, and

allowing Defendants to access those systems. The infected computers are “protected

computers” within the meaning of the CFAA because they are used in or affect

interstate commerce or communication through the internet. Through this conduct,

Defendants have caused damage to 10 or more protected computers in a one-year

time period.

      123.     Transmission of Malware Modules.      Defendants have transmitted

malware modules to protected computers through the internet.         Those modules

damage the protected computers by disabling the users’ cybersecurity detection tools,

anti-virus software, and system monitoring programs, as well as transmitting other

modules to execute Defendants’ criminal schemes. Through this conduct, Defendants

have caused damage to 10 or more protected computers in a one-year time period.

      124.     Transmission of Commands.       Defendants also have transmitted

commands to protected computers through the internet, thereby causing damage to

those computers and enabling the Glupteba Enterprise to utilize these computers in

its criminal schemes. Through this conduct, Defendants have caused damage to 10

or more protected computers in a one-year time period.




                                         41
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 42 of 60




      125.   Google has suffered injury to its business or property as a result of these

predicate offenses, including due to Defendants’ use of these violations in furtherance

of the Stolen Accounts and Credit Card Fraud Schemes.

                          Wire Fraud Predicate Offenses

      126.   Defendants, with intent to defraud and obtain money or property by

means of false or fraudulent pretenses, commit wire fraud in violation of 18 U.S.C.

§ 1343 by transmitting or causing to be transmitted, by means of wire communication

in interstate or foreign commerce, writings, signs, and signals for the purpose of

executing fraudulent schemes. Defendants have violated and continue to violate the

wire fraud statute in three ways, each instance of which constitutes a separate RICO

predicate offense.

      127.   First, the Glupteba Enterprise commits wire fraud, in violation of 18

U.S.C. § 1343, each time that it tricks the owner of a device into unknowingly

downloading and installing Glupteba malware on the owner’s device through fraud,

misrepresentation, and deception. For example, the Glupteba Enterprise misused a

known Google mark, YouTube, described supra at paragraphs 33 and 102, which

constitutes an act of wire fraud, in violation of 18 U.S.C. § 1343.

      128.   Second, in connection with the Stolen Accounts Scheme, Defendants

steal Google users’ login information (e.g., usernames and passwords), and then sell

access to open browsers that are pre-loaded with the stolen login information, thereby

deceiving Google through deceit and false pretenses as to the true identity of the

person accessing the Google account.       Each time that the Glupteba Enterprise




                                          42
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 43 of 60




facilitates an unauthorized login to a Google user’s account by a person other than

the true Google user, for the purpose of obtaining money or property, including as

described supra at paragraphs 53 through 65, the Glupteba Enterprise commits an

act of wire fraud, in violation of 18 U.S.C. § 1343.

      129.   Finally, the Glupteba Enterprise commits wire fraud through the Credit

Card Fraud Scheme. The Glupteba Enterprise deliberately markets credit cards

through Extracard.net and markets those cards specifically for use to purchase ads

fraudulently on Google or other Google services, knowing that the cards can be used

in connection with fraudulent activity. The Glupteba Enterprise’s customers can use

these cards to purchase Google Ads, falsely representing to Google that the cards are

fully funded.   The Glupteba Enterprise causes these transmissions because the

Enterprise knows the transmissions can follow in the ordinary course of business and

such use can reasonably be foreseen.

      130.   Google has suffered injury to its business or property as a result of these

fraudulent schemes.

                        Identity Fraud Predicate Offenses

      131.   Defendants commit identity fraud in violation of 18 U.S.C. § 1028(a)(7)

by knowingly transferring, possessing, and using, without lawful authority, means of

identification of their victims with the intent to commit, or to aid or abet, or in

connection with, unlawful activity in violation of state and federal law and affecting

interstate commerce.




                                           43
           Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 44 of 60




      132.     Specifically, in connection with the Stolen Accounts Scheme and the

Credit Card Fraud Scheme, the Glupteba Enterprise transfers, possesses, and uses,

without authorization, the usernames and passwords of users whose account

information has been stolen.        Those usernames and passwords are “means of

identification” because they belong to and identify specific individuals. The Glupteba

Enterprise acts with the intent to commit unlawful activities that violate federal law

(including the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(5)(A), and 18

U.S.C. § 1343) and that constitute felonies under state law (including theft of

property).

      133.     Google has suffered injury to its business or property as a result of these

actions.

                      Access Device Fraud Predicate Offenses

      134.     Defendants, knowingly and with intent to defraud, committed and

continue to commit access device fraud in violation of 18 U.S.C. § 1029(a)(2) and (3)

by trafficking in or using unauthorized access devices in the form of stolen passwords,

credentials, and other account information in order to obtain anything of value

aggregating $1,000 or more during a one-year period, and/or possessing fifteen or

more unauthorized access devices, and affecting interstate or foreign commerce.

      135.     For instance, the Glupteba Enterprise loads stolen usernames and

passwords and cookies onto virtual machines, and then sells access to stolen Google

accounts (and the accounts of other technology companies). Each set of credentials

in a virtual machine is an “unauthorized access device” because it is a means of




                                            44
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 45 of 60




accessing a user’s account and was stolen by the Glupteba Enterprise.              The

Enterprise possesses thousands of unauthorized access devices, which it has obtained

during a one-year period.

      136.   Google has suffered injury to its business or property as a result of these

actions, which the Glupteba Enterprise uses to carry out the Stolen Accounts and

Credit Card Fraud Schemes.

                            Conspiracy to Violate RICO

      137.   Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      138.   Defendants have not undertaken the practices described herein in

isolation, but rather as part of a common scheme. In violation of 18 U.S.C. §1962(d),

each Defendant unlawfully, knowingly, and willfully agreed and conspired together

and with others to violate 18 U.S.C. § 1962(c) as described above, in violation of 18

U.S.C. § 1962(d).

      139.   The Defendants knew that they were engaged in a conspiracy to commit

multiple predicate offenses, and they knew that the predicate offenses were part of

such racketeering activity, and their participation and agreement was necessary to

allow the commission of this pattern of racketeering activity.           This conduct

constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. §

1962(d).

      140.   The Defendants agreed to direct or participate in, directly or indirectly,

the conduct, management, or operation of the Glupteba Enterprise’s affairs through




                                          45
          Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 46 of 60




a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c). Each Defendant

knew about and agreed to facilitate the Glupteba Enterprise’s schemes. The purpose

of the conspiracy was to commit a pattern of racketeering activity in the conduct of

the affairs of the Glupteba Enterprise, including the acts of racketeering set forth

above.

         141.   Google has been and continues to be directly injured by Defendants’

conduct. But for the alleged pattern of racketeering activity, Google would not have

incurred damages.

         142.   Google seeks injunctive relief and compensatory and punitive damages

in an amount to be proven at trial.

         143.   As a direct result of Defendants’ actions, Google has suffered and

continues to suffer irreparable harm for which there is not adequate remedy at law,

and which will continue unless Defendants’ actions are enjoined.

                                 CLAIM 2
      Violations of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030

         144.   Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

         145.   Defendants intentionally accessed and continue to access protected

computers without authorization and thereby obtained and continue to obtain

information from the protected computers.        See 18 U.S.C. § 1030(a)(2)(C).   The

protected computers include devices infected with Glupteba malware, from which

Defendants obtain information concerning the device’s owner, including usernames

and passwords.       The protected computers also include Google’s servers, which



                                           46
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 47 of 60




Defendants intentionally accessed without authorization to obtain information from

Google concerning the account, and use of the account.

      146.   Further, as described above at paragraphs 29 through 40, Defendants

knowingly caused and continue to cause the transmission of a program, information,

code, and/or commands, and as a result of such conduct, intentionally caused and

continue to cause damage without authorization, to the protected computers, the

software residing thereon, and Google. See 18 U.S.C. § 1030(a)(5)(A).

      147.   Defendants intentionally accessed and continue to access protected

computers without authorization, and as a result of such conduct, recklessly caused

and continue to cause damage to the protected computers, the software residing

thereon, and Google. See 18 U.S.C. § 1030(a)(5)(B).

      148.   Defendants intentionally accessed and continue to access protected

computers without authorization, and as a result of such conduct, caused and

continue to cause damage and loss to the protected computers, the software residing

thereon, and Google. See 18 U.S.C. § 1030(a)(5)(C).

      149.   Defendants knowingly and with intent to defraud trafficked and

continue to traffic in passwords and/or similar information through which computers

may be accessed without authorization. See 18 U.S.C. § 1030(a)(6).

      150.   Defendants’ conduct involved and affected, and continues to involve and

affect, interstate and/or foreign communications and commerce, including involving

protected computers located inside the United States as well as protected computers




                                        47
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 48 of 60




located outside the United States that are used in a manner that affects interstate or

foreign commerce or communication of the United States.

      151.   Defendants’ conduct has caused damage to Google, including by

impairing the integrity of the accounts being offered to certain of its users.

      152.   Defendants’ conduct has caused a loss to Google during a one-year

period aggregating at least $5,000

      153.   Google seeks injunctive relief and compensatory and punitive damages

under 18 U.S.C. § 1030(g) in an amount to be proven at trial.

      154.   As a direct result of Defendants’ actions, Google has suffered and

continues to suffer irreparable harm for which there is no adequate remedy at law,

and which will continue unless Defendants’ actions are enjoined.

                                 CLAIM 3
  Violations Of The Electronic Communications Privacy Act, 18 U.S.C. §§
                                2701 et seq.

      155.    Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      156.   Google accounts and Google’s servers running such services are facilities

through which electronic communication service is provided to Google users and

customers.

      157.   Defendants knowingly and intentionally accessed and continue to access

Google accounts and Google’s servers running such services without authorization or

in excess of any authorization granted by Google or any other party.

      158.   Google seeks injunctive relief and compensatory, statutory, and punitive

damages in an amount to be proven at trial.


                                          48
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 49 of 60




      159.   As a direct result of Defendants’ actions, Google has suffered and

continues to suffer irreparable harm for which no adequate remedy at law exists, and

which will continue unless Defendants’ actions are enjoined.

                                 CLAIM 4
                 Trademark And Unfair Competition Violations

      160.    Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      161.   Since Google’s founding in 1997, its search engine, accessible at

www.google.com, has become one of the largest, most recognized, and widely used

internet search services in the world.

      162.   Among its innovative goods and services, Google also offers a video

sharing service under the famous YOUTUBE mark. YouTube, LLC (“YouTube”)

launched the youtube.com website on April 24, 2005, and the mark YOUTUBE has

been in continuous use ever since. Google acquired YouTube in November 2006, and

thereafter maintained YouTube’s rights and use of the YOUTUBE mark.

      163.   Google has devoted substantial efforts and resources, both in the United

States and internationally, to promote its services using its trademarks including

YOUTUBE. Its platforms have had resounding success in the marketplace and have

garnered a significant and loyal network of users, including consumers, advertisers

and content providers. Today, these platforms are among the most used services in

their fields and the most visited websites and apps in the world.

      164.   Google owns numerous trademark registrations in the U.S. and around

the world for its marks including YOUTUBE, including but not limited to



                                         49
       Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 50 of 60




incontestable U.S. Trademark Reg. No. 3711233, registered in 2009 and renewed in

2020, covering the following goods and services:

                                  (Int’l Class: 09)
      Downloadable software to enable uploading, posting, showing,

      displaying, tagging, sharing and otherwise providing electronic media

      or information over the Internet and other communications networks;

      application program interface (API) that enables developers to integrate

      video content and functionality into websites, software applications, and

      devices

                                  (Int’l Class: 35)
      Advertising and promotional services on behalf of others; promotional

      services, namely, promoting the goods and services of others through

      online entertainment, online education, and sharing of multimedia

      content via the Internet and other communications networks;

      developing and providing marketing programs for advertisers,

      marketers, and content providers; providing a website where

      advertisers, marketers, and content providers can reach, engage, and

      interact with online users for the purposes of promotion or advertising

                                  (Int’l Class: 38)
      Audio, video and multimedia broadcasting via the Internet and other

      communications networks;       webcasting services;    transmission of

      messages, data and content via the Internet and other communications

      networks; providing forums for the transmission of messages, comments

      and multimedia content among users in the field of general interest via


                                         50
 Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 51 of 60




the Internet and other communications networks; transmission of

electronic media, multimedia content, videos, movies, pictures, images,

text, photos, user-generated content, audio content, and information via

the Internet and other communications networks; providing community

forums for users to post, search, watch, share, critique, rate, and

comment on, videos and other multimedia content via the Internet and

other communications network

                              (Int’l Class: 41)
Entertainment and educational services, namely, providing a website

featuring user-generated content, namely, electronic media, multimedia

content, videos, movies, pictures, images, text, photos, audio content,

and related information via the Internet and other communications

networks on a wide variety of topics and subjects; Providing online

journals, namely, blogs featuring information on the subject of the

above-listed user-generated website content; Online digital video, audio

and multimedia entertainment publishing services; Online digital

publishing services; Entertainment services, namely, conducting

contests

                              (Int’l Class: 42)
Providing temporary use of non-downloadable software to enable

uploading, capturing, posting, showing, editing, playing, streaming,

viewing, previewing, displaying, tagging, sharing, manipulating,

distributing,   publishing,    reproducing,   and   otherwise   providing



                                     51
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 52 of 60




      electronic media, multimedia content, videos, movies, pictures, images,

      text, photos, user-generated content, audio content and information via

      the Internet and other communications networks; Providing temporary

      use of non-downloadable software to enable sharing of multimedia

      content and comments among users; Providing temporary use of non-

      downloadable software to enable content providers to track multimedia

      content; Providing temporary use of non-downloadable analytics

      software, namely, software that provides statistics about the behavior of

      viewers of online videos, movies, pictures, images, text, photos, games

      and other user-generated content; Hosting of websites featuring

      multimedia content for others; Hosting multimedia entertainment and

      educational content for others; Providing a web site that gives computer

      users the ability to upload and share user-generated videos, on a wide

      variety of topics and subjects

      165.   Google’s trademarks including YOUTUBE embody the substantial and

valuable reputation and goodwill that Google has earned in the marketplace for its

high-quality and innovative services and related software and products.           In

particular, the YOUTUBE brand has become famous because of, among other

reasons, Google’s widespread use of the mark in the United States and

internationally, extensive media coverage, and the strong and loyal base of users of

this Google service.




                                         52
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 53 of 60




      166.   The YOUTUBE Mark was used by Defendants and/or their agents in

connection with a domain name and website purporting to be a YouTube video

downloader program that tricked the user into clicking the download link, infecting

the user’s computer with Glupteba malware and enabling Defendants to control the

user’s computer via instructions sent by Defendants’ C2 server, as noted above. The

fake YouTube video downloader is one of the nefarious means Defendants or their

agents have used to gain access to users’ computers and infect computers with the

Glupteba malware.

      167.   Defendants thus in part access user accounts through malicious

freeware that was marketed using the YOUTUBE Mark, purporting to offer YouTube

video download programs and using the YOUTUBE Mark in domain names such as

video-youtube-get.ru.

      168.   Defendants used the YOUTUBE mark in commerce in connection with

the distribution and advertising of services in a manner that is likely to cause

confusion.

                Infringement of Federally Registered Trademark
                               15 U.S.C. § 1114(1)

      169.    Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      170.   Defendants’ and/or their agents’ use of the YOUTUBE mark has caused

and/or is likely to continue to cause confusion with Google’s federally registered

YOUTUBE trademark, in violation of 15 U.S.C. § 1114(1). The use by Defendants

and/or their agents of YOUTUBE has caused and/or is likely to continue to cause



                                         53
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 54 of 60




confusion and mistake, has deceived and/or is likely to continue to deceive potential

customers and the relevant purchasing public as to the source, origin, or sponsorship

of Defendants’ services, and has deceived and/or is likely to continue to deceive the

public into believing that those services originate from, are associated with, or are

otherwise authorized by Google, to the damage and detriment of Google’s reputation,

goodwill, and sales.

      171.   Google has no adequate remedy at law, and, if Defendants’ actions are

not enjoined, Google will continue to suffer irreparable harm to its reputation and the

goodwill of its well-known YOUTUBE trademark.

      172.   Further, Defendants have caused damage to Google, and they have

profited from their unlawful actions in an amount not known to Plaintiff.

         Federal Unfair Competition and False Designation of Origin
                            15 U.S.C. § 1125(a)

      173.    Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      174.   Defendants’ and/ or their agents’ use of YOUTUBE has caused and/or is

likely to cause confusion in violation of 15 U.S.C. § 1125(a). Defendants’ and/or their

agents’ use of YOUTUBE has caused and/or is likely to cause confusion and mistake,

has deceived and/or is likely to continue to deceive potential customers and the

relevant purchasing public as to the source, origin, or sponsorship of Defendants’

services, and has deceived and/or is likely to continue to deceive the public into

believing that those services originate from, are associated with, or are otherwise




                                          54
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 55 of 60




authorized by Google, to the damage and detriment of Google’s reputation, goodwill,

and sales.

      175.     Google has no adequate remedy at law, and, if Defendants’ actions are

not enjoined, Google will continue to suffer irreparable harm to its reputation and the

goodwill of its well-known YOUTUBE trademark.

             Federal False Advertising in Violation of the Lanham Act
                               15 U.S.C. § 1125(a)

      176.     Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      177.     Defendants’ and/or their agents’ false, deceptive, and misleading

advertising in interstate commerce violates Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a).

      178.     Defendants’ and/or their agents’ advertising claims regarding alleged

services offered by Defendants, including offering of software that purported to assist

in downloading of videos from YouTube, have been false, deceptive, and misleading.

      179.     Defendants’ and/or their agents’ false, deceptive, and misleading claims

were included in their commercial advertising and/or promotional materials.

      180.     Defendants and/or their agents have distributed their false, deceptive,

and misleading advertising claims in interstate commerce.

      181.     Defendants’ and/or their agents’ false, deceptive, and misleading

advertising claims have the capacity to deceive end users and are material to end

users’ decisions to engage with Defendants.




                                           55
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 56 of 60




      182.   Google has been injured as a result of this false, deceptive, and

misleading advertising.

      183.   Google will continue to be irreparably injured unless and until

Defendants’ conduct is preliminarily, and thereafter, permanently enjoined by this

Court, and Google has no adequate remedy at law.

      184.   As a direct and proximate result of Defendants’ false, deceptive, and

misleading advertising, Google has suffered harm and damages in an amount to be

determined by the trier of fact.

      185.   Defendants and/or their agents have engaged in intentional and willful

violation of the Lanham Act entitling Google to enhanced damages and attorneys’

fees and costs.

                                      CLAIM 5
                  Tortious Interference with Business Relationship

      186.    Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      187.   Defendants knew or should have known that Google had an actual and

continuing business relationship with numerous users who interact with Google’s

systems and computer networks.

      188.   In violation of the common law of New York, Defendants intentionally

and maliciously interfered with Google’s business relationships with its users by

accessing, without authorization, Google user accounts, and Google’s systems and

networks, for the purpose of stealing account information and data from those users,

thereby causing harm to Google users, Google, and Google’s relations with its users.



                                         56
          Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 57 of 60




      189.    Moreover, Defendants unlawfully and maliciously interfered with

Google’s business relationship with prospective users by undermining the security

and reputation of Google’s systems and networks.

      190.    Defendants’ improper actions were the proximate cause of harm to

Google.

      191.    Google seeks injunctive relief and compensatory and punitive damages

in an amount to be proven at trial.

      192.    As a direct result of Defendants’ actions, Google has suffered and

continues to suffer irreparable harm for which no adequate remedy at law exists, and

which will continue unless Defendants’ actions are enjoined.

                                     CLAIM 6
                                 Unjust Enrichment

      193.     Google incorporates by reference each and every foregoing paragraph of

the Complaint as if set forth in full.

      194.    The acts of Defendants complained of herein constitute unjust

enrichment of the Defendants at the expense of Google in violation of the common

law of New York. Defendants accessed, without authorization, Google’s Gmail system

and the computers by which such programs and services run.

      195.    Defendants profited unjustly from their unauthorized use of Google’s

systems and networks.

      196.    Defendants had an appreciation and knowledge of the benefit they

derived from their unauthorized use of those systems and networks.




                                          57
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 58 of 60




      197.   Retention by the Defendants of the profits they derived from their

malfeasance would be inequitable.

      198.   Google seeks injunctive relief and compensatory and punitive damages

in an amount to be proven at trial, including without limitation disgorgement of

Defendant’s ill-gotten profits.

      199.   As a direct result of Defendants’ actions, Google suffered and continues

to suffer irreparable harm for which no adequate remedy at law exists, and which

will continue unless Defendants’ actions are enjoined.

                                  PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff prays for judgment as set forth below:

      A.     Judgment in favor of Google and against Defendants;

      B.     A declaration that Defendants have engaged in acts or practices that

             violate the Racketeer Influenced and Corrupt Organizations Act,

             Computer Fraud and Abuse Act, Electronic Communications Privacy

             Act, and Lanham Act, and they have engaged in tortious interference

             with business relationships and been unjustly enriched;

      C.     A declaration that Defendants have violated Google’s trademarks;

      D.     A declaration that Defendants’ conduct has been willful and that

             Defendants have acted with fraud, malice, and oppression;

      E.     A temporary restraining order and preliminary and permanent

             injunctions   enjoining   Defendants   and   their   officers,   directors,

             principals, agents, servants, employees, successors, and assigns, and all

             persons and entities in active concert or participation with them, from


                                         58
        Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 59 of 60




             engaging in any of the activity complained of herein or from causing any

             of the injury complained of herein and from assisting, aiding, or abetting

             any other person or business entity in engaging in or performing any of

             the activity complained of herein or from causing any of the injury

             complained of herein;

      F.     Award of appropriate equitable relief available under applicable

             statutes and law, including injunctive relief and an accounting of profits;

      G.     Judgment awarding Google actual and/or statutory damages from

             Defendants adequate to compensate Google for Defendants’ activity

             complained of herein and for any injury complained of herein, including

             but not limited to interest and costs, in an amount to be proven at trial;

      H.     Judgment awarding enhanced, exemplary and special damages, in an

             amount to be proved at trial;

      I.     Judgment awarding attorneys’ fees and costs; and

      J.     Order such other relief that the Court deems just and reasonable.

                           DEMAND FOR JURY TRIAL

      Google respectfully requests a trial by jury on all triable issues in accordance

with Fed. R. Civ. P. 38.




                                          59
    Case 1:21-cv-10260-DLC Document 5 Filed 12/07/21 Page 60 of 60



r       DATED: December 2, 2021        Respectfully submitted,


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                                  60
